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            IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                               :
STEVEN BROWN,                                  :
BENJAMIN WEEKLEY,                              :
SECOND AMENDMENT FOUNDATION, and :
WEST VIRGINIA CITIZENS DEFENSE                 :
LEAGUE,                                        :   Civil Action
                                               : No. 1:22-cv-00080
      Plaintiffs,                              :
                                               :
v.                                             :
                                               :
THE BUREAU OF ALCOHOL, TOBACCO,                :
FIREARMS AND EXPLOSIVES,                       :
STEVEN DETTELBACH, in his official capacity :
as Director of the Bureau of Alcohol, Tobacco, :
Firearms and Explosives; and                   :
MERRICK GARLAND, in his official capacity as :
Attorney General of the United States,         :
                                               :
      Defendants.                              :
                                               :

 FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT
                AND INJUNCTIVE RELIEF




     COME NOW the Plaintiffs Steven Brown, Benjamin Weekly, Second

Amendment Foundation, and West Virginia Citizens Defense League, by and

through counsel, and complain of Defendants as follows:

                             INTRODUCTION

1.    The Second Amendment protects “the right of the people to keep and

      bear Arms.” And the Constitution ensures that “the right of law-


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         abiding, responsible citizens to use arms in defense of hearth and

         home” is “elevate[d] above all [governmental] interests” in restricting

         the right. District of Columbia v. Heller, 554 U.S 570, 635 (2008).

2.       Plaintiffs include law-abiding, responsible adult citizens who wish to

         purchase handguns—“the quintessential self-defense weapon,” and

         “the most popular weapon chosen by Americans for self-defense,”

         Heller, 554 U.S. at 629—and handgun ammunition from Federal

         Firearms Licensees (“FFLs”) and lawful ammunition sellers for lawful

         purposes, including “defense of hearth and home.”

3.       But Defendants’ laws, including 18 U.S.C. § 922(b)(l)1 and (c)(1); 27

         C.F.R. §§ 478.99(b)(l), 478.124(a), and 478.96(b); the related

         regulations, policies, practices, customs designed to implement the

         same, and Defendants’ continuing enforcement of them (collectively,

         the “Handgun Ban”), prevent law-abiding, responsible adult citizens

         under age twenty-one—including Plaintiffs Brown, Weekley, and the

         similarly situated members of the Second Amendment Foundation,

         and West Virginia Citizens Defense League—from doing so, in




1 “It shall be unlawful for any licensed importer, licensed manufacturer, licensed dealer, or
licensed collector to sell or deliver—(1) any firearm or ammunition to any individual who the
licensee knows or has reasonable cause to believe is less than eighteen years of age, and, if
the firearm, or ammunition is other than a shotgun or rifle, or ammunition for a shotgun or
rifle, to any individual who the licensee knows or has reasonable cause to believe is less than
twenty-one years of age.” 18 U.S.C. § 922(b)(1).

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         violation of the Second Amendment to the United States Constitution.2

4.         “[W]hen the Second Amendment’s plain text covers an individual’s

         conduct, the Constitution presumptively protects that conduct.” Bruen,

         142 S.Ct. at 2126. Moreover, “the government must demonstrate that

         the regulation is consistent with this Nation’s historical tradition of

         firearm regulation. Only if a firearm regulation is consistent with this

         Nation’s historical tradition may a court conclude that the individual’s

         conduct falls outside the Second Amendment’s ‘unqualified command.’”

         Id. (Internal citations omitted. Emphasis added.).

5.         “[T]he lack of a distinctly similar historical regulation…is relevant

         evidence that the challenged regulation is inconsistent with the Second

         Amendment.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.

         Ct. 2111, 2131 (2022). Indeed, the relevant historical evidence will

         show that no such similar regulation existed.

6.       The Government’s Handgun Ban, and Defendants’ actual and

         threatened enforcement of the same, should and must—under the text

         of the Constitution itself, as well as our Nation’s history and tradition,

         and the Supreme Court’s precedents—be declared unconstitutional and

         enjoined.

                                        PARTIES


2Plaintiffs Brown and Weekley are collectively referred to as “Individual Plaintiffs,” and
Plaintiffs Second Amendment Foundation and West Virginia Citizens Defense League are
collectively referred to as “Institutional Plaintiffs.”
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7.    Plaintiff Steven Brown (“Brown”) is a natural person over the age of

      eighteen and under the age of twenty-one. He is a citizen of

      Morgantown, West Virginia and the United States, and is a member of

      Plaintiffs SAF and WVCDL.

8.    Plaintiff Benjamin Weekley (“Weekley”) is a natural person over the

      age of eighteen and under the age of twenty-one. He is a citizen of

      Parkersburg, West Virginia and the United States, and is a member of

      Plaintiffs SAF and WVCDL.

9.    Plaintiff Second Amendment Foundation (“SAF”) is a nonprofit

      educational foundation incorporated under the laws of Washington

      with its principal place of business in Bellevue, Washington. SAF seeks

      to preserve the effectiveness of the Second Amendment through

      education, research, publishing, and legal action programs focused on

      the constitutional right to keep and bear arms and the consequences of

      gun control. SAF has members and supporters both over and under the

      age of twenty-one. SAF has members and supporters throughout the

      United States, some of whom reside in Morgantown and Parkersburg,

      West Virginia, and other portions of West Virginia. SAF brings this

      action on behalf its individual members who would purchase handguns

      and handgun ammunition from lawful retailers, who would sell

      handguns and handgun ammunition to adults under the age of twenty-


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      one, but are prohibited from doing so by the Handgun Ban enforced by

      Defendants, including through criminal penalties and loss of liberty

      and property, and the revocation of FFL and business licenses.

10.   Plaintiff West Virginia Citizens Defense League (“WVCDL”) is

      nonpartisan, nonprofit membership organization formed in 2008 with

      a purpose of preserving, expanding, and perpetuating the right to keep

      and bear arms in the State of West Virginia. WVCDL has members in

      all fifty-five counties of the State of West Virginia including members

      between the ages of eighteen to twenty years old. WVCDL brings this

      action on behalf of its members who would purchase handguns and

      handgun ammunition from lawful retailers, and its member FFL

      handgun retailers who would sell handguns and handgun ammunition

      to adults under the age of twenty-one, but are prohibited from doing so

      by the Handgun Ban enforced by Defendants, including through

      criminal penalties and loss of liberty and property, and the revocation

      of FFL and business licenses.

11.   The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) is an

      agency of the United States under its Department of Justice (“DOJ”).

      ATF is responsible for the investigation and prevention of federal

      offenses involving the illegal use, manufacture, and possession of

      firearms, including violations and alleged violations of the Handgun

      Ban. ATF is also responsible for, inter alia, regulating and licensing
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      the sale, possession, transfer, and transportation of firearms and

      ammunition in interstate commerce. It is authorized to implement

      regulations for purposes of enforcing the Handgun Ban.3

12.   Defendant Steven Dettelbach is the Director of ATF (“Director”). As

      Director of ATF, Defendant Dettelbach is responsible for the creation,

      implementation, execution, and administration of the laws,

      regulations, customs, practices, and policies of the United States,

      particularly those related to firearms. He is presently enforcing, and

      has been enforcing at all times relevant to the Complaint, the laws,

      regulations, customs, practices, and policies underlying the Handgun

      Ban. He is sued in his official capacity.

13.   Defendant Merrick Garland is the Attorney General of the United

      States (“Attorney General”) and is responsible for executing and

      administering the laws, regulations, customs, practices, and policies of

      the United States. Defendant Garland is the head of the DOJ. In that

      capacity, he is presently enforcing, and has been enforcing at all times

      relevant to the Complaint, the laws, regulations, customs, practices,

      and policies underlying the Handgun Ban. As Attorney General,

      Defendant Garland is ultimately responsible for supervising the

      functions and actions of the DOJ, including the ATF, which is an arm

      of the DOJ. He is sued in his official capacity.

        3   See 18 U.S.C. § 926.
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                       JURISDICTION AND VENUE

14.   This action seeks relief pursuant to 28 U.S.C §§ 2201, 2202, and 2412.

      Jurisdiction is founded on 28 U.S.C. § 1331, in that this action arises

      under the Constitution and laws of the United States.

15.   The Defendants, including ATF, are amenable to suit for relief other

      than money damages pursuant to 5 U.S.C. § 702.

16.   The Court has authority to award costs and attorney fees under 28

      U.S.C. § 2412.

17.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and

      (e).

                         STATEMENT OF FACTS

18.   Plaintiff Brown has never been charged with nor convicted of any

      misdemeanor or felony offense, and is otherwise eligible to purchase

      and possess firearms, including handguns, under all applicable laws.

      Plaintiff Brown does not own a handgun but intends and desires to

      purchase a handgun and handgun ammunition for lawful purposes,

      including self-defense.

19.   Specifically, Plaintiff Brown desires to purchase a Bersa Thunder 380

      handgun and accompanying ammunition for self-defense and other

      lawful purposes, including proficiency training and target shooting, in

      the exercise of his fundamental right to keep and bear arms under the

      Second Amendment. But as a result of Defendants’ active enforcement
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      of the Handgun Ban, Plaintiff Brown is prevented from doing so.

20.   On or about June 16, 2022, Plaintiff Brown visited Rural King, an FFL

      in Parkersburg, West Virginia, and sought to purchase a Bersa

      Thunder 380 and a shotgun. After viewing the firearms he wished to

      purchase, including the Bersa Thunder 380, the clerk asked Plaintiff

      Brown for his driver’s license. Upon reviewing his driver’s license, the

      clerk informed Plaintiff Brown that he would be unable to sell him the

      handgun as he was under the age of twenty-one and prohibited by law

      from doing so but would be able to sell him the shotgun. Plaintiff

      Brown proceeded to complete the required paperwork, pass the

      background check, and purchase the shotgun.

21.     On or about July 15, 2022, Plaintiff Brown sought to purchase 50

      rounds of 9mm Luger from Burns Bait and Carryout, an FFL located

      in Elizabeth, West Virginia and was denied on the basis of his age

      because he was under twenty-one.

22.   Plaintiff Brown is acquainted with the proper and safe handling, use,

      and storage of handguns and handgun ammunition, and he is

      otherwise entirely eligible to acquire and possess handguns for such

      purposes under all applicable state and federal laws.

23.   The Handgun Ban prevents Plaintiff Brown from purchasing a

      handgun of his choice, the Bersa Thunder 380, from a lawful retailer in

      violation of his constitutionally enumerated rights.
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24.   But for the Handgun Ban, Plaintiff Brown would purchase a Bersa

      Thunder 380 and handgun ammunition from a lawful retailer to

      exercise his right to keep and bear arms for self-defense and other

      lawful purposes.

25.   Plaintiff Weekley has never been charged with nor convicted of any

      misdemeanor or felony offense, and is otherwise eligible to purchase

      and possess firearms, including handguns, under all applicable laws.

      Plaintiff Weekley does not own a handgun but intends and desires to

      purchase a handgun and handgun ammunition for lawful purposes,

      including self-defense.

26.    On or about June 12, 2022, Plaintiff Weekley visited Rural King, an

      FFL in Parkersburg, West Virginia, and sought to purchase a

      handgun. After viewing the firearm he wished to purchase the clerk

      asked Plaintiff Weekley if he was a West Virginia resident. After

      confirmation of his residency, the clerk inquired as to Plaintiff

      Weekley’s age. Upon learning that Plaintiff Weekley was under the age

      of twenty-one, the clerk informed Plaintiff Weekley that he would be

      unable to sell him the handgun as doing so was prohibited by law. The

      clerk further informed Plaintiff Weekley that he could purchase a long

      gun.

27.   Plaintiff Weekley desires to purchase a Glock 42 and accompanying

      handgun ammunition for self-defense and other lawful purposes,
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      including proficiency training and target shooting, in the exercise of

      his fundamental right to keep and bear arms under the Second

      Amendment. But as a result of Defendants’ active enforcement of the

      Handgun Ban, Plaintiff Weekley is prevented from doing so.

28.   The Handgun Ban prevents Plaintiff Weekley from purchasing

      handgun of his choice, the Glock 42, from lawful retailers, in violation

      of his constitutionally enumerated rights.

29.   Plaintiff Weekley is acquainted with the proper and safe handling, use,

      and storage of handguns and handgun ammunition, and he is

      otherwise entirely eligible acquire and possess handguns for such

      purposes under all applicable state and federal laws.

30.   But for the Handgun Ban, Plaintiff Weekley would purchase a Glock

      42 and accompanying handgun ammunition from a lawful retailer to

      exercise his right to keep and bear arms for self-defense and other

      lawful purposes.

31.   Eighteen is the age of majority in 47 states, including West Virginia.

32.   All law-abiding U.S. citizens who are legal adults, including eighteen

      to twenty year-olds, have the right to: (i) vote; (ii) fully exercise the

      freedoms of speech, assembly, and petitioning of the government under

      the First Amendment to the United States Constitution; (iii) the full

      panoply of liberty protections in the Fourth, Fifth, and Sixth

      Amendments; (iv) enter into contracts; and (v) serve in the United
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      States Military as well as the militias and guards of the several states.

      They are also held responsible as adults for crimes they commit, and

      even being held fully accountable before the law for criminal matters to

      the point of being punished by execution.

33.   Indeed, all male citizens over eighteen years of age are designated

      members of the militia pursuant to 10 U.S.C. § 246(a) and may be

      selected and inducted for training and service into the United States

      armed forces under 50 U.S.C. § 3803(a). See Heller, 554 U.S. at 624

      (“The traditional militia was formed from a pool of men bringing arms

      ‘in common use at the time’ for lawful purposes like self-defense.”)

      (quoting United States v. Miller, 307 U.S. 174, 170 (1939)).

                              THE HANDGUN BAN

34.   18 U.S.C. § 922(b)(1) declares: “It shall be unlawful for any licensed

      importer, licensed manufacturer, licensed dealer, or licensed collector

      to sell or deliver . . . any firearm or ammunition to any individual who

      the licensee knows or has reasonable cause to believe is less than

      eighteen years of age, and, if the firearm, or ammunition is other than

      a shotgun or rifle, or ammunition for a shotgun or rifle, to any

      individual who the licensee knows or has reasonable cause to believe is

      less than twenty-one years of age.” All violators “shall be fined under

      this title, imprisoned not more than five years, or both.” 18 U.S.C.

      §924(a)(1)(D).
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35.       As reflected in Defendant ATF’s Minimum Age for Gun Sales and

          Transfers publication:4

                 Handguns: Under federal law, FFLs may not sell, deliver,
                 or otherwise transfer any firearm or ammunition to any
                 individual who the licensee knows or has reasonable
                 cause to believe is under the age of 21.

36.       As further reflected on Defendant ATF’s Q&A portion of its website:5

                 May an individual between the ages of 18 and 21
                 years of age acquire a handgun from an unlicensed
                 individual who is also a resident of that same State?

                 An individual between 18 and 21 years of age may acquire
                 a handgun from an unlicensed individual who resides in
                 the same State, provided the person acquiring the
                 handgun is not otherwise prohibited from receiving or
                 possessing firearms under Federal law. A Federal firearms
                 licensee may not, however, sell or deliver a firearm other
                 than a shotgun or rifle to a person the licensee knows or
                 has reasonable cause to believe is under 21 years of age.

                 There may be State or local laws or regulations that
                 govern this type of transaction. Contact the office of your
                 State Attorney General for information on any such
                 requirements.


37.       18 U.S.C. § 922(c) provides that “a licensed importer, licensed

          manufacturer, or licensed dealer may sell a firearm to a person who

          does not appear in person at the licensee’s business premises . . . only

          if” the person signs a sworn statement attesting “that, in the case of

          any firearm other than a shotgun or a rifle, I am twenty-one years or


4   Available online at: https://www.atf.gov/resource-center/docs/guns-min-agepdf/download.
5Available online at https://www.atf.gov/questions-and-answers/qa/may-individual-between-
ages-18-and-21-years-age-acquire-handgun-unlicensed.
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      more of age.”

38.   27 C.F.R. § 478.99(b)(l) similarly declares: “A licensed importer,

      licensed manufacturer, licensed dealer, or licensed collector shall not

      sell or deliver (1) any firearm or ammunition . . . if the firearm, or

      ammunition, is other than a shotgun or rifle, or ammunition for a

      shotgun or rifle, to any individual who the importer, manufacturer,

      dealer, or collector knows or has reasonable cause to believe is less

      than 21 years of age.”

39.   Under 18 U.S.C. § 922(a)(5), it is illegal “for any person [other than a

      licensed dealer] to transfer, sell, trade, give, transport, or deliver any

      firearm to any person . . . who the transferor knows or has reasonable

      cause to believe does not reside in . . . the State in which the transferor

      resides.”

40.   Thus, the Handgun Ban categorically prohibits any adult over the age

      of eighteen but under the age of twenty-one from purchasing a

      handgun and handgun ammunition from licensed retailers.

              THE HANDGUN BAN IS UNCONSTITUTIONAL

41.   The Second Amendment guarantees the individual right “to keep and

      bear arms.” See also Heller, 554 U.S. at 595 and Bruen, 142 S.Ct. at

      2122.

42.   This is especially true when it comes to handguns, which the Supreme

      Court has explicitly recognized as “the quintessential self-defense
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      weapon.” Heller, 554 U.S. at 629.

43.   The fundamental right to keep and bear arms protected by the Second

      Amendment secures the right to purchase handguns and handgun

      ammunition for self-defense and other lawful purposes. These

      protections extend in full to all law-abiding, peaceable adults aged

      eighteen and older.

44.   The Handgun Ban impermissibly infringes upon the right to keep and

      bear arms of all law-abiding, peaceable individuals aged eighteen to

      twenty.

45.   Heller demonstrated—through its analysis of the Second Amendment’s

      text, supported and informed by our Nation’s history and tradition—

      that historically ungrounded restrictions on the possession of

      handguns for self-defense must be held categorically unconstitutional,

      rather than subject to interest balancing.

46.   The analysis must be “guided by the principle that ‘[t]he Constitution

      was written to be understood by the voters; its words and phrases were

      used in their normal and ordinary as distinguished from technical

      meaning.”’ Heller, 554 U.S. at 576 (quoting United States v. Sprague,

      282 U.S. 716, 731 (1931)). We look to “the historical background of the

      Second Amendment” because “it has always been widely understood

      that the Second Amendment, like the First and Fourth Amendments,

      codified a pre-existing right.” Id. at 592.
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47.    Bruen confirms that the lower courts approach of analyzing Second

      Amendment challenges which combined history with means-end

      scrutiny was “one step too many.” Bruen, 142 S.Ct. at 2127.

48.     American history and tradition confirm that all law-abiding adults,

      including those under the age of twenty-one, were understood to have

      full Second Amendment rights in the founding era.

49.   Indeed, over 250 colonial and founding-era militia statutes throughout

      the seventeenth and eighteenth centuries mandated that persons aged

      eighteen to twenty acquire and keep arms in order to serve in the

      militia and otherwise protect their communities. See generally David

      Kopel & Joseph Greenlee, The Second Amendment Rights of Young

      Adults, 43 S. ILL. U. L.J. 495 (2019) (providing over 200 militia

      statutes).

50.   Many statutes unrelated to militia service also required adults under

      the age of twenty-one to keep and carry arms. Id.

51.   In contrast, no colonial or founding era law restricted the right of

      individuals between the age of 18 and 21 to acquire or possess arms.

52.   Only months after the Second Amendment was ratified, Congress took

      steps to “provide for organizing, arming, and disciplining, the Militia”

      (U.S. Const. art. I, § 8, cl. 16), by enacting the Militia Act of 1792,

      requiring that every male citizen of each respective state, “who is or

      shall be of the age of eighteen years, and under the age of forty-five
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          years … shall severally and respectively be enrolled in the militia[.]”

53.       In 1790, Secretary of War Henry Knox submitted a militia plan to

          Congress stating that “all men of the legal military age should be

          armed,” and that “[t]he period of life in which military service shall be

          required of [citizens] [was] to commence at eighteen.” 1 Annals of

          Cong., app. 2141, 2145-2146.6

54.       Representative Jackson agreed “that from eighteen to twenty-one was

          found to be the best age to make soldiers of.” Annals of Cong., app.

          2141, 2145-2146. (emphasis added). Eighteen was the age that George

          Washington recommended for militia enrollment. 26 The Writings of

          George Washington 389 (John C. Fitzpartick ed., 1938).

55.       The colonial and founding-era laws and customs provide irrefutable

          evidence that eighteen to twenty year-olds had the same Second

          Amendment rights as older individuals at the time the Second

          Amendment was ratified.

56.       Heller may not have “clarif[ied] the entire field” of Second Amendment

          analysis, 554 U.S. at 634, but it surely foreclosed any argument that

          the Second Amendment does not protect individuals who, at the time

          of ratification, were not only authorized but required by both state and

          federal law to keep and bear arms, see id. at 625 (concluding with “our

          adoption of the original understanding of the Second Amendment”).

6   The Annals of Congress may be viewed online at https://memory.loc.gov/cgi-bin/ampage.
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57.    And Bruen squarely closes the door on any argument to the contrary.

      See Bruen, 142 S.Ct. at 2127, (“[T]he government must affirmatively

      prove that its firearms regulation is part of the historical tradition that

      delimits the outer bounds of the right to keep and bear arms.”).

58.   While the right protected by the Second Amendment is by no means,

      and could not be, limited to militia service, “the threat that the new

      Federal Government would destroy the citizens’ militia by taking away

      their arms was the reason that the right … was codified in the written

      Constitution.” Heller, 554 U.S. at 559.

59.   Thus, there is and never has been any constitutionally grounded basis

      for restricting the rights of law-abiding citizens over eighteen yet

      under twenty-one years of age who are eligible to serve in the military

      and to die for their country.

60.   It is clear that the text of the Constitution itself, as informed by our

      Nation’s history and tradition and the Supreme Court’s precedents,

      protects the right of adults eighteen years of age, but under age

      twenty-one—like Individual Plaintiffs Brown and Weekley, and

      Institutional Plaintiffs SAF and WVCDL’s members—to acquire, keep,

      and bear handguns for lawful purposes, including but not limited to

      self-defense, sport, and hunting, just like law-abiding, peaceable adults

      who are aged twenty-one and older.

61.   The handgun is a ubiquitous armament in American society and is
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      owned by millions of law-abiding, peaceable citizens for lawful

      purposes. Handguns are neither “unusual” nor “dangerous” as those

      terms are used in Heller.

62.   The Second Amendment right fully extends to handguns, such as those

      that Plaintiffs and other similarly situated adults would lawfully, inter

      alia, purchase, possess, keep, bear, and practice proficiency with but

      for the Handgun Ban and Defendants’ enforcement of it.

63.      To be sure, to justify a regulation as “consistent with the Second

      Amendment’s text and historical understanding,” it is the

      government’s burden to demonstrate by “analogical reasoning” the

      existence of “a proper analogue.” Bruen, 142 S.Ct. 2131-32.

64.    Put another way, “[w]hen the Second Amendment’s plain text covers

      an individual’s conduct, the Constitution presumptively protects that

      conduct. To justify the regulation, the government…must demonstrate

      that the regulation is consistent with this Nation’s tradition of firearm

      regulation.” Bruen, 142 S.Ct. at 2126. “[T]he government may not

      simply posit that the regulation promotes an important interest.” Id.

65.   The Handgun Ban is flatly unconstitutional under the Second

      Amendment, Heller, and Bruen.




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      COUNT I – THE HANDGUN BAN IS UNCONSTITUTIONAL
        FACIALLY AND AS APPLIED TO ALL PLAINTIFFS
               UNDER THE SECOND AMENDMENT
                      (U.S CONST., AMEND. II)
                   (All Plaintiffs v. Defendants)

71.   The foregoing paragraphs are re-incorporated herein as if set forth in

      full.

72.   18 U.S.C. §§ 922(b)(l) and 922(c)(1), 27 C.F.R. §§ 478.99(b)(l),

      478.124(a), 478.96(b), and the related regulations, policies, practices,

      and customs designed to implement the same, and the Defendants’

      enforcement of them, prohibit FFLs from selling handguns and

      handgun ammunition to the large class of law-abiding, peaceable, and

      otherwise-eligible adults aged eighteen to twenty-one.

73.   As a direct consequence of the Handgun Ban, individuals in this class

      are unable to exercise their right to purchase handguns from FFLs,

      and handgun ammunition from lawful retailers, for self-defense and all

      lawful purposes protected under the Second Amendment.

74.   Consequently, the Handgun Ban unconstitutionally infringes and

      imposes an impermissible burden upon the Second Amendment rights

      of Individual Plaintiffs and similarly situated members of Institutional

      Plaintiffs.

75.   Absent a declaration that the Handgun Ban unconstitutionally

      precludes Individual Plaintiffs and similarly situated members of

      Institutional Plaintiffs from exercising their enumerated rights,
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      Defendants will continue to enforce the Handgun Ban, contrary to both

      public policy and the Constitution of the United States, causing

      irreparable damage to Individual Plaintiffs and similarly situated

      members of Institutional Plaintiffs.

76.   Plaintiffs seek a declaration that the Handgun Ban violates the rights

      of Individual Plaintiffs Brown and Weekley and similarly situated

      members of Institutional Plaintiffs SAF and WVCDL and is

      unconstitutional facially and as applied to them.

77.   Individual Plaintiffs and similarly situated members of Institutional

      Plaintiffs are presently and continuously injured by Defendants’

      enforcement of 18 U.S.C. §§ 922(b)(1) and (c)(1) and the related

      regulations, policies, practices, and customs underlying the Handgun

      Ban, insofar as they violate the Second Amendment rights of

      Individual Plaintiffs and similarly situated members of Institutional

      Plaintiffs, by prohibiting licensed dealers from conducting sales of

      handguns to adults aged eighteen to twenty.

78.   If not enjoined by this Court, Defendants will continue to enforce 18

      U.S.C. §§ 922(b)(1) and (c)(1) and the related regulations, policies,

      practices, and customs underlying the Handgun Ban in violation of

      Individual Plaintiffs’ constitutional rights and of all those similarly

      situated members of Institutional Plaintiffs. Plaintiffs and the class of

      individuals and entities on whose behalf they bring this case have no
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      plain, speedy, and adequate remedy at law. Damages are

      indeterminate or unascertainable and, in any event, would not fully

      redress any harm suffered by Plaintiffs, and the class of individuals

      and entities on whose behalf they bring this case, because they are

      unable to engage in constitutionally protected activity due to the

      Handgun Ban.

79.   For the foregoing reasons, Plaintiffs request declaratory and injunctive

      relief as hereinafter prayed for.

                          PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court enter a

judgment in their favor and against Defendants as follows:

A.    Declare that 18 U.S.C. §§ 922(b)(l) and (c)(1), their derivative

      regulations, and all related laws, policies, enforcement practices, and

      customs underlying the Handgun Ban, as well as Defendants’

      enforcement of same, violate the right to keep and bear arms secured

      by the Second Amendment to the United States Constitution both

      facially and as-applied;

B.    Permanently enjoin the Defendants, their officers, agents, servants,

      employees, all persons in active concert or participation with them,

      and all who have notice of the injunction, from enforcing 18 U.S.C. §§

      922(b)(l) and (c)(1), their derivative regulations, and all related laws,

      policies, enforcement practices, and customs underlying the Handgun
                                   21
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      Ban, against Individual Plaintiffs and all similarly situated

      Institutional Plaintiffs’ members;

C.    Award costs and attorney fees and expenses to the maximum extent

      permitted under 28 U.S.C. § 2412 and any/all other applicable laws;

      and,

D.    Grant such other and further relief as the Court deems just and

      proper.


Respectfully submitted, this 27th day of September, 2022.

                                             /s/ John H. Bryan
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